The unfinished wills were admissible as evidence to both of the points of capacity and undue influence, as they tended to show intelligence and a settled purpose to make many of the dispositions contained in the script in contest. Minutes for a will are common evidence of capacity and the animustestandi, and letters or verbal declarations containing expressions of preferences for particular persons or importing a voluntary purpose of making particular dispositions are the ordinary means of rebutting the imputation of undue solicitation or influence.
With our mode of trying contests about the validity of wills by jury, there is naturally associated the ideas of parties and the rules of evidence applied to similar trials in a proceeding at common law, in which the side on which one is a party corresponds with his personal interests. Hence a notion seems to have been somewhat prevalent that in contests of this kind a party in interest one way may be most useful to himself and those in the like interest by taking on the record a position in opposition to the side on which his interest lies, so as to make declarations apparently against, but in reality for, himself, and have them offered in evidence by those in interest and conspiring with him. The case of Enloe v. Sherrill, 28 N.C. 212, is an instance of such an attempt, which was defeated; and this case seems to be another, which also (359) properly met the same fate. Against such practices the profession ought to guard the court, and no doubt would, if cognizant of the fraud at the framing of the issue. But if not discovered then, it is the duty of the court, whenever it may be discovered, to protect itself and the parties in interest from imposition; and it is, of course, within the province of the court to frame such rules as to the mode of conducting such proceedings as may be effectual to that end. The proceeding in *Page 247 
probate causes is not similar to those at common law, though the trial in each be by jury, for, in its nature, it is a proceeding in rem, to which there are not parties in the strict sense of the common law, and the court retains that exclusive power over the subject which arises from the provision in the statute that the issue is "to be made up under the direction of the court." There is no doubt, we think, that when the purposes of justice require it, the court may modify the issue, both in respect of scripts and parts of scripts and of the positions of the rules of the parties in interest, so as to have the contest upon the issue determined conclusively and upon its merits as existing in fact and not as they may be made to appear upon the declarations of fictions fabricated for the purposes of defeating a decision accordant with the very fact. In the courts of probate in our mother country, the propounding is on oath, and probate in common form may pass on that alone. Our statute requires proof by at least one witness in every instance, and hence it has come to be the usage not to swear the executor at the propounding, but only to administer to him the oath for the execution of the will after sentence has been pronounced for it. Perhaps it were better if the executor were still required to propound on oath in the first instance as well as to take the other oath, for he cannot honestly propound a script which he knows or believes not to be the will of the party deceased. Indeed, by propounding, he stands pledged to take his oath to that effect, since it is a part of the oath of an executor prescribed in the statute that he "believes this writing to be and contain the last will   (360) and testament" of the party deceased. If he believes otherwise, though it be proper to summon him to see proceedings in order to make the sentence, whatever it may be, conclusive on all in interest, his duty to the court and to the ends of justice plainly is, either to contest the probate openly or, at the least, to see proceedings, literally speaking, and not to be an actor in the proceeding. It is a fraud upon the law to take part in the propounding in collusion with the caveators. He ought to act as he would if all the other parties besides himself were propounders, in which case he would be obliged to stand forth in opposition to the probate. In cases of such fraud and collusion whereby one, for his own interest, aims to have such control, directly or indirectly, over the trial of the issue as to secure a decision against himself and those with whom he acts in pretense and in favor of their adversaries, the ground fails on which the rule for admitting declarations is founded, namely, that they are against the interest of the person making them, and, therefore, the rule itself has no application in those instances. It seems to the Court, therefore, that in cases of reasonable suspicion of good faith in an executor in uniting with the other executors or parties in interest in propounding a script, he might and ought to be required to take at once *Page 248 
an oath as to his belief of its validity; and upon his refusal, the court should allow those in interest to prosecute by themselves. That would have been a proper course here, and perhaps the court would have adopted it if it appeared that the other propounders had been aware of the collusion in time to have asked it before the trial. But, as far as appears, this evidence was sprung upon them without any ground of suspicion, and, therefore, in furtherance of the principle mentioned, the court might have rejected the declarations when offered in evidence, and consequently his Honor was right, after they had been (361) inadvertently admitted, in advising the jury that they ought to allow no weight to them.
Whatever error may exist in the other instructions to the jury, it would seem not to entitle the appellant to a venire de novo, because, upon the facts stated, it does not appear that it could be injurious to them. The instructions relate exclusively to the validity of the script in contest, as affected by the other paper called the will of 1834. Now if that paper was of no force as a will, its existence could not in any degree operate upon that in contest. It does not appear in the exception to have been executed so as to make it a will. As a will of 1834, it was revoked by an express clause of revocation in that of 1842, if the latter be a will to any purpose. Then, looking at it as executed also in 1842 as part of the will, it is not seen that it could have been a will or part of a will; no copy is set forth in the bill of exceptions, whereby it might appear to have been attested, nor is it otherwise stated that it was either a holograph or attested by the witnesses Allman and Thomas or any others. Those persons state merely that the party (Love) "reexecuted it," and one of them said that Love mentioned that he "signed" the old will to cure the defect caused by "his name" being torn off. His Honor, who is to be supposed to speak more accurately, applies to the transaction in reference to that paper the term "republication" merely, which he informed the jury might be by parol. It cannot be inferred, therefore, that the execution in 1842 of the paper of 1834 was anything more than the resigning it by the party deceased; and hence it was not a will, because it is not so stated to have been written by himself, nor witnessed as required by the statute. It could, consequently, have no effect upon the paper of 1842 unless it was correct as laid down by the jury that it might be republished by parol, and was thus republished. That is understood to mean that republication may be by oral declarations merely; and with that position the Court does concur, either as (362) applied to this case or as a general doctrine. It had no application to the case, because, in point of fact, if there was a republication at all it was not by words alone, but by the party's act of signing the paper, with the declaration that he did so to make it his will again, *Page 249 
either absolutely or sub modo. But supposing that in that respect the case were otherwise, and that there had been nothing more than a declaration made animo republicandi in 1842 that the paper, even with his name to it, as at first, was then his will, it was not correct to say that would be a republication. Supposing it to have been a holograph, with the original date left in it, it is at least very doubtful whether there could be an oral republication, as there was occasion to say in the cases arising on Wilson's will in Edgecombe. But, as just said, this does not appear to be paper of that kind, and consequently it cannot be acted on as if it were. Then, as a paper not written by the party deceased, and therefore requiring attestation, and supposing it to have been duly signed and attested in 1834, it could not be republished by word of mouth merely, because it was decided early after the statute of frauds, and has been ever since considered as settled, that there cannot be a republication unless by reexecution of the same instrument, or by the executors of a codicil, with the ceremonies required by the statute. Mastenv. Savage, 1 Ves. Sr., 440. It is obvious the contrary doctrine would contravene the statute, since it would allow after purchased land to pass upon a verbal declaration alone. It is true, there might have been such a republication of the will in respect of the personal estate prior to July, 1841, but after that time the act of 1840 puts will of real and personal estate on the same footing. There was, therefore, no fact to make out the paper of 1834 to have been in form of a will, and the controversy was exclusively upon the validity of the script of 1842 within itself, unless it be supposed that the one of 1834 was not only "executed" by the party deceased, but also attested by Allman and Thomas. If it were in the power of this Court to send cases back to have   (363) the facts more fully stated in the bill of exceptions, as we might if the case came here upon a defective special verdict, the Court would not proceed to a final adjudication without having the fact on this point explicitly stated one way or the other. This is adverted to in order to engage the attention of counsel, in drawing their exceptions, to the necessity for stating every fact distinctly, which is requisite to show, that in laying down a rule of law, there was error to the prejudice of the appellant. The Court, though allowing much for the haste and multifarious engagements of their circuit, is unable to infer facts upon which the exception is altogether silent. But in this particular case it is not of so much consequence because if those witnesses did attest the papers of 1842, as it is called, the Court is of opinion that, according to the evidence of Allman — which the verdict affirms to be true — it was not the will or a part of the will. Publication is as necessary to constitute a will as delivery is to a deed. The statute, in prescribing particular ceremonies in the execution of wills, though not using the term *Page 250 
publication, does not dispense with it, and it has never been considered as merged in the other ceremonies. It is as necessary now as it ever was, though now, as ever, it may be inferred from circumstances as well as directly established. 1 Powell Dev., 90. Publication is a declaration or act of the party showing the instrument to be his will, and the question is whether what was done here can, in law, be deemed a publication of the paper of 1834 in that sense. How it might have been if the paper itself had in the attestation clause said that it was published or "republished," as well as signed by the party, we do not say. But nothing of that kind appearing, it was necessary that the republication should be affirmatively shown, which, of course, could only be by the testimony of the witnesses to the acts or declarations of the party. Now the (364) declaration of this party was that the instrument was not his will — at least, not then. He published one paper as his will inpresenti and absolutely, and of the other he said that he published it as a paper which might be his will in certain events, which would be destructive of the former. The doubt, if there be one, is, whether the paper of 1834 ever could become a valid instrument upon such a publication. It certainly was not published as being immediately the will, and cannot impair the validity of the other or its efficacy as being alone the will, and, therefore, the sentence must be affirmed.
These observations dispose of the controversy between the parties. Yet it is proper the Court should notice the closing direction to the jury to find against the script of 1834, upon the ground that it would be then only a part of the will, because it lays down a rule of much importance in practice which the Court deems erroneous. By such a finding, the script would finally be pronounced against, though it be admitted to be a part of the will, which seems manifestly wrong. The proper course in the case would have been to embrace both of the papers in the issue, and to have it special, whether both were, or one was, the will, or whether parts, and which parts, were. But when one script only is put in issue, and that is only part of the will, the verdict ought not to be against it altogether, but should rather be according to the truth — that it was a part — for although such a finding would be imperfect, yet it is better it should conclude nothing than that it should untruly conclude a thing as being in no part the will because it was but a part. Upon such a finding, the parties would be under the necessity of asking the Court to set it aside and remodel the issue so as to embrace both scripts, and thus the whole case would be brought properly up. But in the other way an intestacy would be effectually established, because, after sentence against one script, that the party did not devise thereby because it did not contain all his dispositions, a like sentence must follow against the (365) other script for the same reason, and thus both would be set *Page 251 
aside and the party left without a will, though the rule supposes that he had a will, and the two together made it.